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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
HUNTER KILLER PRODUCTIONS, INC., ) Case No. 19-cv-3801
)
Plaintiff, ) Judge John Robert Blakey
)
V. )
)
DOES 1-16, )
)
Defendant. )

PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT
PURSUANT TO FED. R. CIV. P. 7.1 AND LOCAL RULE 3.2

Hunter Killer Productions, Inc., states that it is owned by Millennium IP, Inc., and no
publicly held entity owns more than 5% of the stock of either of the foregoing companies.

Respectfully submitted,

HUNTER KILLER PRODUCTIONS, INC.

DATED: June 7, 2019 By: /s/ Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
Hughes Socol Piers Resnick & Dym, Ltd.
Three First National Plaza
70 W. Madison Street, Suite 4000
Chicago, Illinois 60602
Phone: 312-604-2678
Fax: 312-604-2679
E-mail: mhierl@hsplegal.com
Attorneys for Plaintiff
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Plaintiff's Corporate Disclosure Statement Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 3.2
was filed electronically with the Clerk of the Court and served on all counsel of record and
interested parties via the CM/ECF system on June 7, 2019.

s/Michael A. Hierl

 
